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      · · · · · ·****· CONFIDENTIAL· ****· DO NOT DISCLOSE· ****
      ·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
      · · · · · · · · · · FOR THE DISTRICT OF COLORADO
      ·2
      · · ·Case No. 1:20-cv-00078-CMA-SKC
      ·3· ·_______________________________________________________

      ·4· · · · · · · · · · · ****CONFIDENTIAL****
      · · ·VIDEOTAPE DEPOSITION OF:· S.T.C - MARCH 28, 2022
      ·5· ·_______________________________________________________

      ·6· ·A.C. AS PARENT AND NEXT FRIEND OF MINOR S.T.C.,

      ·7· ·PLAINTIFFS,

      ·8· ·V.

      ·9· ·JEFFERSON COUNTY R1 SCHOOL DISTRICT ,JEFF GOMEZ,
      · · ·INDIVIDUALLY, AND WILLIAM CARLIN, INDIVIDUALLY,
      10
      · · ·DEFENDANTS.
      11· ·_______________________________________________________

      12

      13· · · · · · ·PURSUANT TO NOTICE AND AGREEMENT, THE

      14· ·VIDEOTAPE DEPOSITION OF S.T.C. was taken on behalf of

      15· ·the Defendant, via Zoom videoconferencing, on

      16· ·March 28, 2022 at 9:09 a.m., before Kimberly A. Ritter,

      17· ·Registered Professional Reporter and Notary Public

      18· ·within Colorado.

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      25· · ·Job No. 849390
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      ·1· · · · · · · · · · ·A P P E A R A N C E S

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      ·5· ·For the Defendant:· · · ·M. Gwyneth Whalen, Esq.
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      10
      · · ·Videographer:· · · · · · Mark Rogers
      11

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      23· · · · · · · · · · · · · · · (None)

      24· · · · · · · QUESTIONS INSTRUCTED NOT TO ANSWER:
      · · · · · · · · · · · · · · · · (None)
      25
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      ·1· · · · · · ·WHEREUPON, the following proceedings were
      ·2· ·taken pursuant to the Federal Rules of Civil Procedure.
      ·3· · · · · · ·VIDEOGRAPHER:· We are on the record at
      ·4· ·9:09 a.m. on March 28th, 2022.· We are here via Zoom
      ·5· ·for the video-recorded deposition of Sarah
      ·6· ·Tankersley-Clark in the matter of A.C., as parent and
      ·7· ·next friend of minor, S.T.C., versus Jefferson County
      ·8· ·R-1 School District, et al., in the United States
      ·9· ·District Court for the District of Colorado.· This is
      10· ·civil action number 1:20-cv-00078-CMA-SKC.
      11· · · · · · ·The videographer is Mark Rogers.· The court
      12· ·reporter is Kim Ritter of Hansen & Company Litigation
      13· ·Services.
      14· · · · · · ·Will counsel please state their appearance,
      15· ·beginning with Plaintiff's counsel.
      16· · · · · · ·MR. SCHWAB:· Milo Schwab on behalf of
      17· ·Plaintiff, Sarah Tankersley-Clark, who appears with me
      18· ·here remotely.
      19· · · · · · ·MS. WHALEN:· Gwyneth Whalen on behalf of the
      20· ·Defendants, Jefferson County School District, Jeff
      21· ·Gomez and William T. Carlin.
      22· · · · · · ·THE VIDEOGRAPHER:· Will the court reporter
      23· ·please swear in the witness.
      24· · · · · · ·THE REPORTER:· Ms. Clark, would you raise
      25· ·your right hand for me, please.
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      ·1· · · · Q.· ·And you never reported to Mr. Gomez any
      ·2· ·concerns about titty touch Tuesday or slap ass Friday,
      ·3· ·correct?
      ·4· · · · A.· ·Correct.
      ·5· · · · Q.· ·And you never reported even to Ms. MacDonald
      ·6· ·any concerns about titty touch Tuesday or slap ass
      ·7· ·Friday, correct?
      ·8· · · · A.· ·I did.
      ·9· · · · Q.· ·With Ms. MacDonald?
      10· · · · A.· ·I did, yes.
      11· · · · Q.· ·Okay.· When did you do that?
      12· · · · A.· ·The beginning of seventh grade.
      13· · · · Q.· ·Okay.· What did you tell Ms. MacDonald?
      14· · · · A.· ·Had to be September.
      15· · · · Q.· ·September?
      16· · · · A.· ·Yes, in September.
      17· · · · Q.· ·What did you tell her?
      18· · · · A.· ·Like, Sep -- the end of September.· I have to
      19· ·look at my paperwork.· I didn't look at that, I'm
      20· ·sorry.
      21· · · · Q.· ·What paperwork do you have that would help
      22· ·you remember this?
      23· · · · A.· ·I write things down, my own -- my own
      24· ·knowledge.· Like, I write things down, like, my -- my
      25· ·diaries, my stuff.
